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   ATTORNEY FOR DEBTOR(S)

                                 IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE NORTHERN DISTRICT OF TEXAS
                                             DALLAS DIVISION

   IN RE:                                                   §         CASE NO. 18-30380-HDH-13
        Zulma Consuelo Pineda                               §
             Debtor                                         §         :

DEBTOR’S AMENDED RESPONSE TO WAYNE VANCE CELSO DURAN, FRANCISCO PEREZ,
              GLADYS BARNER, AND ANGELA GALVIS SCHNUERLE'S
          MOTION TO DIMISS WITH PREJUDICETO REFILING FOR 180 DAYS


   TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

         COMES NOW, Zulma Consuelo Pineda (singularly or collectively "Debtor") hereby

   responds to the Motion to Dismiss Case with Prejudice as follows:

   1.    Debtor does not believe that the facts justify a dismissal with prejudice..

   3.    Debtor has filed a Motion to Reinstate her case.

                                                        PRAYER

         WHEREFORE, Debtor prays for such further relief as is just.

   Dated: May 9, 2018
                                            /s/ Lawrence Herrera
                                            Lawrence Herrera
                                            State Bar No. 09530150
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